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                        UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         :
                                                 :
        v.                                       : CASE NO. 21-CR-003 (RCL)
                                                 :
JACOB ANTHONY CHANSLEY,                          :
     Defendant.                                  :


                                     STATUS UPDATE

       The government now submits this status update, pursuant to this Court’s Order. ECF No.

39. Since the last status update, the defendant remains housed at FCI Englewood, in Littleton,

CO. He will undergo his competency evaluation at FCI Englewood, and the parties have been

providing appropriate information to the evaluator. The government does not have any

additional updates as to the status of that evaluation at this time.


                                       Respectfully submitted,

                                       CHANNING D. PHILLIPS
                                       ACTING UNITED STATES
                                       ATTORNEY


                                           /s/
                                       KIMBERLY L. PASCHALL
                                       Assistant United States Attorney
                                       D.C. Bar 1015665
                                       U.S. Attorney’s Office
                                       555 4th Street, N.W., Room 4116
                                       Washington, D.C. 20530
                                       202-252-2650
                                       Kimberly.Paschall@usdoj.gov



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